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                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF NEW JERSEY

  ---------------------------------------------------------X
  STEVEN GOODMAN, Individually and                              :
  on Behalf of All Other Persons Similarly                      :    Civil Action No.: 1:11-cv-04395-JHR-JS
  Situated,                                                     :
                                                                :
                                            Plaintiff,          :
                                                                :
                       -against-                                :
                                                                :
  BURLINGTON COAT FACTORY :
  WAREHOUSE CORPORATION,                                        :
  BURLINGTON COAT FACTORY :
  INVESTMENT HOLDINGS, INC., and                                :
  BURLINGTON COAT FACTORY :
  HOLDINGS, INC.,                                               :
                                                                :
                                                  Defendants.   :
  ---------------------------------------------------------X
  BARBARA KAWA, THERESA MASSEY                                  :
  and DANIELLE SOLECKI, Individually                            :
  and on Behalf of All Other Persons                            :   Civil Action No.: 1:14-cv-2787-JHR-JS
  Similarly Situated,                                           :
                                                                :
                                            Plaintiffs,         :
                                                                :
                       -against-                                :
                                                                :
  BURLINGTON STORES, INC.,                                      :
  BURLINGTON COAT FACTORY :
  WAREHOUSE CORPORATION,                                        :
  BURLINGTON COAT FACTORY :
  INVESTMENT HOLDINGS, INC., and                                :
  BURLINGTON COAT FACTORY                                       :
  HOLDINGS, LLC f/k/a BURLINGTON                                :
  COAT FACTORY HOLDINGS, INC.,                                  :
                                                                :
                                                  Defendants.   :
  ---------------------------------------------------------X


     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL
    APPROVAL OF CLASS AND COLLECTIVE ACTION SETTLEMENT AND IN SUPPORT
             OF AWARD OF ATTORNEYS’ FEES AND COSTS, INCENTIVE
                PAYMENTS TO NAMED PLAINTIFFS, AND PAYMENT
                    OF THE SETTLEMENT ADMINISTRATOR
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            Plaintiffs Steven Goodman, Barbara Kawa, Theresa Massey, Danielle Solecki (collectively

  “Plaintiffs”) submit this memorandum in support of their unopposed motion, pursuant to Federal

  Rules of Civil Procedure 23(e), 23(h), and 54(d)(2), for the following relief: (1) final approval of

  the Settlement, including the final certification of the state law Settlement Class and approval of the

  Settlement as adequate, fair and reasonable as to the Fair Labor Standards Act (“FLSA”) collective

  and the state law Settlement Class; (2) approval to pay the Settlement Administrator, JND Class

  Action Administration, LLC (“JND”), in an amount up to but not more than $35,000; (3) an award

  of attorneys’ fees and costs, in the amounts of $6,537,966.67 (fees) and $348,000 (costs and

  expenses); and (4) incentive payments to each Named Plaintiff in the amount of $10,000. 1 A

  proposed form of final approval order and judgment was previously agreed-upon and part of the

  parties’ Settlement Agreement and a copy is attached hereto as Exhibit A.

  I.        Introduction

             Plaintiffs are pleased to move for final approval of the $19,613,000 Settlement that will

      resolve this nine-year old litigation and these two lawsuits. On August 24, 2020, this Court granted

      Plaintiffs’ motion approving settlement notice and preliminarily approving class action and

      collective settlement, directing that notice be provided to members of the Goodman Collective

      and the Kawa Settlement Class, and setting the date for the fairness hearing. ECF No. 354

      (“Preliminary Approval Order”). The 565 Collective and 1,083 Settlement Class Members have



  1
   Unless otherwise noted, all references to the “Lesser Prelim. Decl.” are to the Declaration of Seth
  R. Lesser in support of Plaintiffs’ motion for preliminarily approval (ECF No. 462-2), while
  references to the “Donaldson Decl.” are to the Declaration of Stephen L. Donaldson, attached as
  Lesser Decl. Exhibit B. References to ECF docket numbers will be to the docket numbers in the
  Goodman matter, unless otherwise noted. Additionally, this memorandum uses the same defined
  terms as are used in the Settlement Agreement (ECF No. 462-3) and that were used in the
  Memorandum of Law in Support of Plaintiffs’ Unopposed Motion for Approval for an Order
  Approving Settlement Notice (ECF No. 462-1).


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   been appropriately notified and no member of either group has opted out. And, further, no

   member of either group has objected. Lesser Decl. ¶¶ 4-5, 7; Donaldson Decl. ¶ 10.

         There cannot be any fair dispute that the Settlement is not the result of a contested

  litigation and a particularly hard-fought mediation between skilled and competent counsel. The

  litigation spanned nine years and included extensive motion practice and discovery. The parties

  repeatedly required the intervention of the Court to resolve disputes. The quality of counsel on

  both sides is, we believe it fair to say, unquestionable. In sum, the Settlement provides the

  Collective and Settlement Class Members with relief warranting approval.

  II.    Procedural History

         The Court is well familiar with this litigation’s history and the history was also previously

  summarized for the Court at pages 1-5 of the Memorandum of Law in Support of Plaintiffs’

  Unopposed Motion for Approval of An Order Approving Settlement Notice (ECF No. 462-1),

  which is incorporated by reference to avoid repetition.

  III.   Summary of the Settlement Terms, the Notice That Was Sent, and The Class’s Reaction

         The Settlement Agreement provides that Defendants will pay up to $19,613,000 into a

  qualified settlement fund to resolve all claims in these two cases. See Settlement Agreement (ECF

  No. 462-3). The qualified settlement fund will be administered by JND. The settlement fund will

  cover back pay and liquidated/statutory damages for the Goodman Collective and the Kawa

  Settlement Class, as well as attorneys’ fees and costs, the PAGA Payment to the California Labor

  and Workforce Development Agency and California Settlement Class Members, the incentive

  payments to the Named Plaintiffs, and JND’s costs.

         As preliminarily approved by the Court, the Settlement is a hybrid FLSA collective,

  consisting of the extant members of the Goodman collective, and a Rule 23 Settlement Class

  consisting of all Assistant Store Managers (“ASM”) employed by Burlington at its stores in the


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  States of California, New York and Illinois during the following periods: (a) California: May 1,

  2010 through August 24, 2020 (the Preliminary Approval Order date); (b) New York: May 1, 2008

  through August 24, 2020; and (c) Illinois: May 1, 2011 through August 24, 2020.

         Pursuant to the Preliminary Approval Order, each Collective and Settlement Class

  Member was sent an individualized Notice setting forth the settlement payment he or she would

  receive, assuming final approval. See Donaldson Decl. ¶¶ 5-7 (setting forth notice program), and

  Exhibit A thereto. The Notice, approved by the Court, explained in plain English the material

  terms of the litigation, what the Settlement offered and what claims would be released, and what

  were the choices of each Collective and Settlement Class Member vis-à-vis the Settlement. Id. 2

         Notices were sent to the 1,648 total Collective and Settlement Class Members. 3 Of note, to

  date, there has not been a single opt-out. Id. ¶¶ 11-12 (the opt-out period ends November 30,

  2020). And not a single objection has been received. Id. ¶¶ 9-10 (deadline is also November 30,

  2020). It is fair to say that the Settlement has been overwhelmingly accepted and approved, and

  certainly not rejected, by the Collective and Settlement Class Members.




  2
   Under the Settlement Agreement, and in conformity with the vast majority of FLSA settlements,
  individual settlements will be calculated under an allocation formula that considers the number of
  weeks each Collective and/or Class Member was employed as an ASM during the relevant time
  periods, for which each will receive a pro rata share of the net settlement amount, thereby ensuring
  a fair distribution of the settlement proceeds.
  3
   After the Notices were mailed, JND received 197 Notice packages returned as undeliverable by
  the Post Office without updated addresses. Donaldson Decl. ¶ 7. New addresses and/or remails
  were found for 143 of those. Id.


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   IV.     Argument

           A.      The Settlement Class Should be Finally Approved for Settlement Purposes

           To first address the propriety of final certification of the Settlement Class (i.e., the Kawa

   state classes), the class must meet the requirements of Rule 23(a) and Rule 23(b)(1), (2) or (3). To

   satisfy Rule 23(a): (1) the class must be so numerous that joinder of all members is impractical

   (numerosity); (2) there must be questions of law or fact common to the class (commonality); (3) the

   claims or defenses of the representative parties must be typical of the claims or defenses of the

   class (typicality); and (4) the named plaintiffs must fairly and adequately protect the interests of the

   class (adequacy of representation, or simply adequacy). Somogyi v. Freedom Mortg. Corp., Civil

   No. 17-6546 (RMB/JS), 2020 U.S. Dist. LEXIS 194035, *6 (D.N.J. Oct. 20, 2020) (Schneider, J.)

   (citing Drennan v. PNC Bank, 622 F. 3d 275, 291 (3d Cir. 2010)). Certification here is sought

   under Rule 23(b)(3), which requires that: (1) common questions of law or fact predominate

   (predominance), and (2) the class action is the superior method for adjudication (superiority). Id.

   The Court must conduct a “rigorous analysis” of the arguments and evidence presented to decide

   if class certification is appropriate. Id. (quoting In re Lamictal Direct Purchaser Antitrust Litig., 957

   F.3d 184, 190-91 (3d Cir. 2020)). These requirements are all met here for settlement purposes. 4

           1.      Numerosity. Starting with Rule 23(a), “[n]o minimum number of plaintiffs is

   required to maintain a suit as a class action but generally if the named plaintiff demonstrates that

   the potential number of plaintiffs exceeds 40, [numerosity] has been met.” Id. at *6-7 (quotation

   omitted). Here, the Settlement Class of 1,095 individuals easily meets this requirement for

   settlement purposes.


   4
    While agreeing to class certification for settlement purposes, Defendants dispute the propriety of
   such certification as a litigated matter and has reserved their rights to challenge any motion for class
   certification in Kawa and/or to challenge the propriety of final certification in Goodman in the
   event that the Settlement is not finalized.


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           2.      Commonality. Where, as here, the action proceeds under Rule 23(b)(3), the Rule

   23(a)(2) commonality requirement is subsumed by Rule 23(b)(3)’s predominance requirement.

   Id. at *7 (citing Danvers Motor Co. v. Ford Motor Co., 543 F.3d 141, 148 (3d Cir. 2008) (citing

   Georgine v. Amchem Prods., Inc., 83 F.3d 610, 626 (3d Cir. 1996))). Commonality does not

   require perfect identity of questions of law or fact among all class members. Id. (citing Reyes v.

   Netdeposit, LLC, 802 F.3d 469, 486 (3d Cir. 2015)). Rather, the named plaintiffs must

   demonstrate that the class members “‘have suffered the same injury and that their claims depend

   upon a common contention capable of classwide resolution — which means that determination of

   its truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

   stroke.’” Id. (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)). The

   predominance requirement examines whether the defendant’s conduct was common to the class

   members, and whether the class members were harmed by the defendant’s conduct. Id. at *7-8

   (citing Sullivan v. DB Invs., Inc., 667 F.3d 273, 298 (3d Cir. 2011)).

           Here, commonality and predominance are satisfied for settlement purposes because, inter

   alia, each of the proposed Settlement Class Members worked in the same position at Burlington,

   under the same job descriptions and corporate policies (including its national governance

   operational standards), and under a uniform method of compensation under which they allegedly

   performed non-exempt tasks a majority of their time, worked over 40 hours per week and did not

   receive overtime compensation for their hours worked over 40 hours per week. See Opinion

   Granting Final Certification and Denying Decertification in Goodman (ECF No. 450) (“Final Cert.

   Opinion”) at 32-33. These facts are sufficient to satisfy the commonality requirement for

   settlement purposes, and because the core claims arising out of the uniform method of

   compensation arise from stores in which the same company-wide policies and procedures were in

   effect, see id., even if some of Defendants’ defenses are individualized, they do not predominate


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   over common defenses. Id. Other case issues involve whether Defendants’ alleged violations of

   the state laws was willful and whether statutory damages are available. See Somogyi, 2020 U.S.

   Dist. LEXIS 194035, at *8. Accordingly, both typicality and predominance are met for settlement

   purposes. See also, e.g., Craig v. Rite-Aid Corp., 2013 U.S. Dist. LEXIS 2658, at *26-27 (finding

   commonality for final approval purposes met in similar retail chain ASM case because, “[h]ere, the

   core issue as identified by both the parties and the courts entertaining these consolidated cases is

   and has always been whether Rite Aid's designation of ASMs as exempt from overtime

   compensation was proper under the FLSA, its analogous state law counterparts, or both. The

   ability of each Class Member to recover is directly related to resolution of this central legal issue.

   Accordingly, we find that commonality is amply satisfied by the proposed class.”); In re Janney

   Montgomery Scott LLC Fin. Consultant Litig., No. 06-3202, 2009 WL 2137224, at *5 (E.D. Pa. July 16,

   2009) (finding predominance in overtime lawsuit challenging common classifications of employees as

   overtime-exempt under white-collar exemptions).

           3.      Typicality: Rule 23(a)(3)’s typicality requirement “is intended to assess whether the

   action can be efficiently maintained as a class action and whether the named plaintiffs have

   incentives that align with those of absent class members so as to assure that the absentees’ interests

   will be fairly represented.” Neal v. Casey, 43 F.3d 48, 57 (3d Cir. 1994); accord Stewart v.

   Abraham, 275 F.3d 220, 227 (3d Cir. 2001). This typicality requirement under Rule 23(a)(3) and

   the adequacy requirement under (a)(4), as to the named plaintiffs, “merge,” because typicality

   generally involves an “‘inquiry whether the named [plaintiff’s] individual circumstances are

   markedly different or . . . the legal theory upon which the claims are based differs from that upon

   which the claims of other class members will perforce be based.’” Somogyi, 2020 U.S. Dist.

   LEXIS 194035, at *8 (quoting Hassine v. Jeffes, 846 F. 2d 169, 177 (3d Cir. 1988) (internal

   quotations and citations omitted)). Lawsuits challenging the same conduct that “affects both the


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   named plaintiffs and the putative class usually satisfy the typicality requirement irrespective of the

   varying fact patterns underlying the individual claims.” Neal, 43 F.3d at 58. “[E]ven relatively

   pronounced factual differences will generally not preclude a finding of typicality where there is a

   strong similarity of legal theories.” Id.; accord Stewart, 275 F.3d at 227-28.

           Here, Plaintiffs assert that the typicality factor (and adequacy factor) is satisfied because the

   Kawa Plaintiffs and each Settlement Class Member share the same interest of recovering unpaid

   overtime wages. Further, the Kawa Plaintiffs’ interests and their basic legal theory are aligned with

   those of the other ASMs included in the Settlement Class. The typicality factor is therefore

   satisfied for settlement purposes. See Craig, 2013 U.S. Dist. LEXIS 2658, at *27 (typicality met

   for final approval because “Again, as noted above, each Class Member's claim flows directly Rite

   Aid’s alleged misdesignation of ASMs as exempt from overtime requirements, and thus the legal

   issue central to the named plaintiff's claims is likewise central to each Class Member's individual

   claim.”); see also Somogyi, 2020 U.S. Dist. LEXIS 194035, at *9 (“‘Cases challenging the same

   unlawful conduct which affects both the named plaintiffs and the putative class usually satisfy the

   typicality requirements irrespective of the varying fact patterns underlying the individual claims.’”)

   (quoting Stewart, 275 F.3d at 227 (citation omitted)).

           4.      Adequacy: This requirement is satisfied if both: “(a) the plaintiff’s attorney [is]

   qualified, experienced, and generally able to conduct the proposed litigation, and (b) the Plaintiff

   [does] not have interests antagonistic to those of the class,” Weiss v. York Hospital, 745 F.2d 786,

   811 (3d Cir. 1984) (internal quotations omitted). As to the former, Class Counsel are experienced

   employment rights and class action lawyers who have handled numerous federal and state court

   actions on behalf of workers. Lesser Decl. ¶ 11. In addition, Class Counsel tried, and prevailed,

   in one of the few mid-manager misclassification cases ever to be taken to collective action verdict,

   Stillman v. Staples, 07-849 (KSH) (D.N.J.), which led to this Circuit’s largest FLSA/state law


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   settlement. See Lesser Decl. ¶ 9 and Ex. B thereto; see also Lesser Decl. Ex. C (Locks Law Firm

   Resume and CVs); Lesser Decl. Ex. D (Javerbaum Wurgaft Hicks Kahn Wikstrom & Sinins, P.C.

   CVs). Second, Plaintiffs do not have any interests that are antagonistic to the Settlement Class

   Members. Lesser Prelim. Decl. ¶ 20. As already noted in the discussion of the typicality factor,

   Plaintiffs’ interests are aligned with the other ASMs included in the Settlement Class.

           5.      Superiority: Rule 23(b)(3) finally requires the Court “to balance, in terms of

   fairness and efficiency, the merits of a class action against those of alternative available methods of

   adjudication,” In re: Prudential Insurance Co. America Sales Practice Litigation, 148 F.3d 283, 316

   (3d Cir. 1998), and it “sets out several factors relevant to the superiority inquiry,” id. at 315-16.

   These factors favor certification of the Settlement Class.

           First, Rule 23(b)(3)(A) requires courts to consider class members’ “interests in individually

   controlling the prosecution or defense of separate actions.” This requirement is intended to

   protect against class certification where individual class members have a strong interest in

   “individually controlling” their own litigation because, for example, the individual claims are

   emotionally charged or involve significant damages amounts. See William Rubenstein, Alba

   Conte, and Herbert B. Newberg, Newberg on Class Actions at §4:69. Here, the potential individual

   damage amounts are well less than $20,000 on average and even if such amounts could be obtained,

   the amount recovered would be much less after paying attorneys’ fees and costs in an individual

   action. Further, the legal issues are not so emotionally charged that class members have a strong

   interest in individual control of the litigation.

           Second, Rule 23(b)(3)(B) requires courts to consider “the extent and nature of any litigation

   concerning the controversy already begun by” class members. The Goodman and Kawa cases are

   the only pending actions of which Class Counsel is aware that concerns the classification of

   Burlington ASMs. Further, the existence of a collective action such as Goodman, does not negate the


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   superiority of trying the claims of 1,095 class members that could otherwise be brought in 1,095

   separate actions in one proceeding. See Hall v. Accolade, Inc., 2020 U.S. Dist. LEXIS 52632 at *14

   (E.D. Pa. Mar. 25, 2020) (finding superiority requirement met in class and FLSA collective settlement);

   Craig, 2013 U.S. Dist. LEXIS 2658, at *30 (“logic dictates that the instant class action structure is

   superior to individual litigation where there are more than 7,000 potential claimants across the United

   States and the likelihood of disparate judgments absent class certification is substantial”).

           Third, Rule 23(b)(3)(C) requires courts to consider the desirability of “concentrating the

   litigation of the claims in a particular forum.” Fed. R. Civ. P. 23(b)(3)(C). Here, Plaintiffs assert

   that concentration of the claims of Settlement Class Members in this Court is both efficient and

   desirable because Burlington is headquartered in this District and also due to the extensive

   familiarity of this Court with the work performed by Burlington ASMs, which would benefit the

   parties and the Court in bringing the class claims to trial as quickly as possible.

           Fourth, Rule 23(b)(3)(D) requires the court to consider any “likely difficulties in managing

   the class action.” This particular requirement is irrelevant when, as here, a case is certified for

   settlement purposes. Somoygi, 2020 U.S. Dist. LEXIS 194035 at *9 (citing Amchem Products,

   Inc. v. Windsor, 521 U.S. 591, 620 (1997)).

           Finally, a class has to be ascertainable, id., a requirement easily met here for settlement

   purposes since the class was defined of individuals identified from Defendants’ employment

   records.

           B.       The Settlement Should be Approved as Fair, Reasonable, and Adequate.

           Rule 23(e)(2) provides that courts should grant final approval to class action settlements that

   are “fair, reasonable, and adequate.” As amended by the 2018 Rule 23 amendments, there is a

   four-factor test to be used to “focus the court and the lawyers on the core concerns of procedure




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   and substance that should guide the decision….” Fed. R. Civ. P. 23(e)(2) Adv. Comm. Notes to

   2018 Amendments. Specifically, a settlement is “fair, reasonable, and adequate” if:

          (A) the class representatives and class counsel have adequately represented the class;

          (B) the proposal was negotiated at arm’s length;

          (C) the relief provided to the class is adequate, taking into account:

                  (i)           the costs, risks, and delay of trial and appeal;

                  (ii)          the effectiveness of any proposed method of distributing relief to the

                                class, including the method of processing class-member claims;

                  (iii)         the terms of any proposed award of attorney’s fees, including the

                                timing of payment; and

                  (iv)          any agreement required to be identified under Rule 23(e)(3); and

          (D) the proposal treats class members equally to each other.

   Subparagraphs (A) and (B) address the “procedural fairness” of the settlement, while

   subparagraphs (C) and (D) address “substantive fairness.” Id.

          In addition, the Third Circuit has provided guidance on the factors a Court should

   consider in deciding whether to approve a class action settlement, which are commonly called the

   “Girsh” factors from Girsh v. Jepson, 521 F.2d 153, 175 (3d Cir. 1975). See Somoygi, 2020 U.S.

   Dist. LEXIS 194035 *12 (citing id.). The Girsh factors are:

          (1) the complexity, expense and likely duration of the litigation;

          (2) the reaction of the class to the settlement;

          (3) the stage of the proceedings and the amount of discovery completed;

          (4) the risks of establishing liability;

          (5) the risks of establishing damages;

          (6) the risks of maintaining the class action through trial;


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              (7) the ability of the defendants to withstand a greater judgment;

              (8) the range of reasonableness of the settlement fund in light of the best possible

              recovery; and

              (9) the range of reasonableness of the settlement fund to a possible recovery in light of all

              the attendant risks of litigation.

   Id. at *12-13.   5




              For motions seeking approval of “settlement only” classes, as here, the court “favor[s] the

   parties reaching an amicable agreement” and should not “intrude overly on the parties’ hard-fought

   bargain[,]” but also,“[a]t the same time, … has an obligation as a fiduciary for absent class members

   to examine the proposed settlement with care.” In re Google Inc. Cookie Placement Consumer

   Privacy Litig., 934 F.3d 316, 326 (3d Cir. 2019). A presumption of fairness attaches to settlements

   where “(1) the negotiations occurred at arm's length; (2) there was sufficient discovery; (3) the

   proponents of the settlement are experienced in similar litigation; and (4) only a small fraction of

   the class objected.” Somoygi, 2020 U.S. Dist. LEXIS 194035 *14 (quoting In re NFL Players

   Concussion Injury Litig., 821 F. 3d 410, 436 (3d Cir. 2016)). Nonetheless, “[t]he decision of

   whether to approve a proposed settlement of a class action is left to the sound discretion of the

   district court.” Girsh, 521 F.2d at 156.

                        1.    The Rule 23(e)(2) Factors Are Met.

              First, as to the provisions of Rule 23(e)(2)(A) and (B) – the procedural fairness factors –

       which look “to the conduct of the litigation” and “the negotiations leading up to the proposed

   settlement,” Fed. R. Civ. P. 23(e)(2) Adv. Comm. Notes to 2018 Amendments, Plaintiffs

   respectfully contend that Class Counsel has adequately (and we might wish to indulge in hoping


   5
    Further, there are also the “Prudential” factors in this Circuit, In re Prudential Ins. Co. Am Sales
   Practice Litig. Agent Actions, 148 F.3d 283, 323 (3d Cir. 1998), addressed at page 19, below.

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   perhaps more than adequately) represented the Settlement Class (and the Collective, as well). To

   get to this Settlement, they not only invested nine years of time and expense, all on contingency,

   but had to litigate the case, as evidenced by the nearly 500 docket items in Goodman, from pre-

   filing to first-stage FLSA discovery and then on to a motion under Section 16 of the Fair Labor

   Standards Act for notice to potential collective members and conditional certification, then on to

   contested second-stage representative discovery issues, through the entirety of detailed and

   comprehensive second-stage discovery which led to 28 opt-in depositions across the country, seven

   depositions of Defendants’ corporate witnesses, and multiple sets of written discovery that resulted

   in over a half million pages of documents produced by Defendants that were reviewed by Class

   Counsel. Throughout, there were disputes that required the Court to intervene. The fact discovery

   was followed by extensive expert discovery, including expert depositions, after the parties

   exchanged detailed expert reports on the issue of whether Defendants improperly classified ASMs

   as exempt under the FLSA.

           After all this discovery concluded, the case did not settle; and, so, at the end of the second-

   stage discovery period, Plaintiffs moved for final certification, while Defendants moved to decertify

   the collective action. Plaintiffs also filed a motion to strike Defendants’ expert under Daubert v.

   Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Those motions led to four days of live

   testimony and argument – and even more argument in numerous supplemental authorities filed by

   the parties – whereupon, in opinions dated September 20, 2019 and November 20, 2019, the

   Court granted in part and denied in part Plaintiffs’ Daubert motion, denied Defendants’ motion to

   decertify, and granted Plaintiffs’ motion for final certification. Even though the Kawa case had

   been stayed, it would now proceed to class certification, with Plaintiffs relying on the final

   certification order in Goodman. In short, to all intents and purposes, this was an FLSA/state law

   misclassification litigation that Plaintiffs had to pursue to the doorstep of trial.


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           To achieve the Settlement, not only were there last-minute matters brought to the Court’s

   attention (involving, for instance, disputes over the production of information for the mediation, 6

   and an arbitration clause dispute), but the Settlement itself was only reached under the guidance of

   one of the country’s most respected mediators, David Geronemus of JAMS, after two long days of

   a Zoom mediation held in June.

           Further, the adequacy of representation is also demonstrated by the quality of the result

   which, as is discussed at pages 18-19, below, is quite high.

           As just discussed, and as the Court is aware in having encouraged the parties to mediate,

   the mediation was conducted in an arms’ length manner. See In re Prudential Ins. Co. of Am.

   Sales Practices Litig., 962 F. Supp. 450, 543 (D.N.J. 1997) (“[T]he Court credits the judgment of

   Class Counsel, all of whom are active, respected, and accomplished in this type of litigation.”).

           Second, to address the Rule 23(e)(2)(C) and (D) factors – the substantive fairness factors –

   first, the relief to be provided to the class is adequate, in the first instance, taking into account “the

   costs, risks, and delay of trial and appeal.” Rule 23(e)(2)(C)(i). This factor recognizes that while

   the “relief that the settlement is expected to provide to class members is a central concern,” such

   relief must be viewed in relation to “the cost and risk involved in pursuing a litigated outcome,”

   which “cannot be done with arithmetic accuracy, but it can provide a benchmark for comparison


   6
     Despite all the prior discovery, the one topic as to which there had not been discovery, was
   damages (i.e., payroll data). Accordingly, prior to the mediation, Class Counsel sent detailed
   requests for data related to damages of Collective and Settlement Class Members, such as total
   weeks worked by each group, their hours worked per week, and their salaries. Defendants
   responded by providing, for each group, their average salary during the relevant time periods,
   average number of weekly hours worked, and total number of weeks worked during the relevant
   time periods. Defendants determined the average number of weekly hours worked from time
   records completed by Collective and Settlement Class Members, which in other cases like this, are
   typically not completed by the employees at issue. Class Counsel asked multiple questions of
   Defendants concerning the data in order to satisfy themselves that the information provided was
   accurate. After this careful review, Class Counsel were fully informed of Defendants’ full potential
   exposure as to the issues and risks presented in the cases and at trial. See Lesser Prelim. Decl. ¶ 9.


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   with the settlement figure.” Fed. R. Civ. P. 23(e)(2) Adv. Comm. Notes to 2018 Amendments.

   Absent settlement, the costs and risks associated with the Kawa and Goodman Actions would be

   significant. Lesser Decl. ¶¶ 2, 10, 13-14. The Court would be required to resolve the Kawa

   Plaintiffs’ anticipated motion for class certification in which the Kawa Plaintiffs would have sought

   certification of a class of all ASMs who worked in New York, California and Illinois from May 1,

   2008, May 1, 2010 and May 1, 2011, respectively, through the time of certification. Id. This

   would have been a highly contested motion, following some measure of class discovery in which

   Defendants would have maintained that certain members of the class were subject to its arbitration

   agreement and that the nature of its ASM position changed since 2014, when certain Collective

   Members were deposed in the Goodman Action. Id. While the Kawa Plaintiffs believe that this

   Court would likely reject any attempt by Defendants to create material differences in the

   Settlement Class Members for the same reasons it denied Defendants’ motion to decertify the

   Collective and granted Plaintiff Goodman’s Motion for Final Certification of the Collective, and

   would certify the Settlement Class, such a ruling on these issues would likely be at least six months

   from now (if not longer given the pandemic, see Somogyi, 2020 U.S. Dist. LEXIS 194035 *16

   (“[t]he COVID crises has slowed civil litigation to a crawl”)). Additionally, if the Kawa Plaintiffs

   prevailed on this motion, Defendants could seek a Rule 23(f) appeal to the Third Circuit, further

   delaying any trial of the claims, and quite possibly separating them from being able to be tried with the

   Goodman claims (even assuming class certification was ruled upon prior to the Goodman trial). Id.

   This is even besides the litigation risk that misclassification cases present, as is well recognized when, as

   many collective or class trials have been lost on misclassification claims as have been won.

   Compare, e.g., Stillman v. Staples, Inc., No. 07-849 (KSH), 2009 U.S. Dist. LEXIS 42247 (D.N.J.

   May 15, 2009) (collective action plaintiffs’ verdict) with Perkins v. Southern New England

   Telephone Co Inc. No. 3:07-967, ECF No. 578 (D. Conn. Oct. 24, 2011) (collective action


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   defendant’s verdict)); Henry v. Quicken Loans, Inc., Case No. 2:04-cv-40346-SJM-MJH (E.D.

   Mich. 17, 2011) (collective action defendant’s verdict); Bell v. Citizens Fin. Group, 2:10-cv-00320

   (W.D. Pa.) (same); see also Weiss v. Mercedes- Benz of N. Am., Inc., 899 F. Supp. 1297, 1301

   (D.N.J.), aff’d, 66 F.3d 314 (3d Cir. 1995) (“the risks surrounding a trial on the merits are always

   considerable”). 7

           Thus, even assuming certification of the Kawa class, there would have been “attendant risks” of

   litigation, including a large number of “contingencies” that could have “impact[ed] Plaintiffs’ possible

   recovery” including, for instance, “…the method of calculating damages, proving willfulness in order

   to extend the statute of limitations by one year in order to obtain an additional year of damages

   under FLSA, and showing lack of good faith in order to get liquidated damages.” Roberts v. TJX

   Corp., 2016 U.S. Dist. LEXIS 136987, at *27-28 (D. Mass. Sept. 30, 2016) (approving class

   settlement in similar retail chain misclassification case). 8 Or, as Judge John Jones III said in

   approving another substantial hybrid FLSA retail chain store mid-level manager misclassification

   case settlement, “[i]t is undisputed that copious risks abound with respect to maintaining this action




   7
    Indeed, Class Counsel here is particularly well aware of the risks and delays associated with
   proceeding to trial in a wage and hour case. In January 2009, the undersigned counsel acted as trial
   counsel in Stillman v. Staples, one of rare FLSA collective actions cases of any substantial size that
   have ever been tried to a jury. Lesser Decl. ¶ 12. The trial took six weeks, cost hundreds of
   thousands of dollars and presented innumerable contested issues of both law and fact. Although a
   plaintiffs’ jury verdict was obtained, the post-trial motion practice that followed was extensive and
   included, among other things, motions for a JNOV, to have the damages reduced pursuant to the
   “fluctuating work week” basis of calculating overtime and for post-trial decertification of the
   collective class.
   8
    The method of calculating damages presented a particular risk, one that is discussed at pages 18-
   19, below.



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   and establishing liability.” Craig v. Rite Aid Corp., No. 4:08-cv-2317, 2013 U.S. Dist. LEXIS

   2658, at *38 (M.D. Pa. Jan. 7, 2013). 9

           Further, even if the Goodman Action were tried first, potential appeals could delay the final

   outcome of that case and a trial of the Kawa Action for several years until such appeals were

   resolved. Lesser Prelim. Decl. ¶ 16. And even if both Actions were tried together, the likely

   appeal of any verdict would delay any recovery to the Settlement Class Members for years. Id. In

   sum, continued adversarial litigation would be a long, highly contested and expensive process for the

   Settlement Class, with no guarantee of any recovery at all. Id. Given these risks and delays, the

   Settlement here that will provide an average recovery of $12,003 is adequate. Id.

           As to Rule 23(e)(2)(C)(ii), reviewing the manner of distributing the relief, under this factor,

   the Court “scrutinize[s] the method of claims processing to ensure that it facilitates filing legitimate

   claims” and “should be alert to whether the claims process is unduly demanding.” Fed. R. Civ. P.

   23(e)(2) Adv. Comm. Notes to 2018 Amendments. This factor is satisfied, first, because this a case

   in which the Settlement Class is a defined group of individuals ascertainable by Defendants’ records,

   and, second, because the Settlement Class Members did not have to file a claim form to receive a

   Settlement Payment. See Settlement Agreement at ¶ 8(m). If the Settlement is approved, they

   (like the Goodman Collective Members), will be directly paid. Moreover, every Settlement Class

   Member received an individualized notice form that explained the Settlement and specified his/her

   anticipated Settlement Payment amount. See Donaldson Decl. ¶ 5 & Ex. A. And, yet further,

   JND, an extremely experienced claims administrator tracked down individuals for returned




   9
    Note should also be made of the possibility of post-trial decertification, which has even occurred
   in FLSA misclassification cases, most notably in Johnson v. Big Lots Stores, Inc., 561 F. Supp. 2d
   567 (E.D. La. 2008) (decertifying retail store manager collective action after trial).


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   original notices and sent new notices, as well as answering inquiries from Settlement Class

   members. Donaldson Decl. ¶¶ 7-8

           As to Rule 23(e)(2)(C)(iii), regarding the terms of any proposed award of attorney’s fees,

   including the timing of payment, this factor recognizes that “[e]xamination of the attorney-fee

   provisions may also be valuable in assessing the fairness of the proposed settlement.” Fed. R. Civ.

   P. 23(e)(2) Adv. Comm. Notes to 2018 Amendments. Here, Plaintiffs are seeking 33 1/3% of the

   Maximum Settlement Amount ($6,537,966.67) as attorneys’ fees, plus an additional amount of

   $348,000 for reasonable litigation expenses and costs. At pages 20-29 below, we address the

   fairness and reasonableness of these requested attorneys’ fees and expenses under the factors

   articulated by the Third Circuit in its leading decision of Gunter v. Ridgewood Energy Corp., 223

   F.3d 190 (3d Cir. 2000). For Rule 23(e)(2)(C)(iii)’s purposes, however, the settlement was

   negotiated as a common fund settlement from which the parties, agreed after the time the

   settlement amount was reached, as to what percentage Plaintiffs would seek without opposition

   from Defendants (Lesser Decl.¶ 15), and the payment of the fees and expenses will only be at the

   same time that the Settlement Class is paid, satisfying this factor.

           As to Rule 23(e)(2)(C)(iv), regarding any other agreements between the parties, besides the

   Settlement Agreement, there are no “side agreements” concerning this settlement. Lesser Decl. ¶

   10. This factor is thus satisfied.

           Finally, as to Rule 23(e)(2)(D), this factor seeks to prevent the “inequitable treatment of

   some class members vis-a-vis others.” Fed. R. Civ. P. 23(e)(2) Adv. Comm. Notes to 2018

   Amendments. This factor is satisfied because all Settlement Class Members (and Collective

   Members) will receive their awards based on the same pro rata formula based upon weeks




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   worked with a minimum Settlement Payment of $250; i.e., they are treated equally. 10 Not only

   are the Settlement Class Members treated equally relative to each other but, it is worth noting,

   this is the most common method of settling FLSA/analog state law wage and hour claims and has

   been, as best Class Counsel is aware, always accepted by courts. Lesser Prelim. Decl. ¶ 18.

                   2.      The Girsh Factors Are Also Met

           Inasmuch as the Rule 23(e)(2) factors are met, so, too, are the Girsch factors (listed at page

   10, above). Girsch factors 1, 3, and 6 were discussed at pages 11-15, above, but, in short, this

   litigation proceeded entirely through merits and “similarly situated” collective and expert discovery

   and, indeed in terms of merits discovery practically to trial, and were the case not settled, there

   would still have been extensive contested matters, including Kawa class certification, pre-trial risks,

   trial risks, and post-trial risks that, even before COVID would have presented “a long road ahead,”

   and certainly a long road now. Somogyi, 2020 U.S. Dist. LEXIS 194035 *18. Here, the parties

   “are better off with the certainty of a prompt settlement and payment rather than the uncertainty of

   whether they will get any recovery at some future unknown date” and, for the Settlement Class

   “eliminates the risk of losing and provides substantial, immediate and guaranteed monetary and

   remedial relief.” Id. (quotation omitted). Also addressed above at pages 13-15 are the risks

   presented to the Settlement Class by continuing litigation (Girsch factors 4 and 5), which are not

   insubstantial and present the possibility of losing at trial and recovering nothing.

           As to the reaction of the Settlement Class (Girsh factor 2), the fact is that despite direct mail

   notices to all the Settlement Class members (as well as emails to most of the Goodman collective

   members), there has not been a single opt-out or a single objection, which certainly speaks of a



   10
     In light of the nature of California law, the $3,750 PAGA Payment to the California Collective
   and Settlement Class Members will cause them to receive approximately $7.89 more per person
   than the other Settlement Members, which Class Counsel believes to be an immaterial amount.


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   positive reaction that warrants approving the Settlement. See Somogyi, 2020 U.S. Dist. LEXIS

   194035 *19 (citing In re Elec. Carbon Prods. Antitrust Litig., 447 F. Supp 2d 389, 406 (D.N.J.

   2006) (“The absence of objections to a fee request, or the imposition of minimal objections, is

   seen as an indicator that the fee request is fair.”)); Landsman & Funk, P.C. v. Skinder-Strauss

   Assocs., C.A. No. 08-CV-3610 (CLW), 2015 U.S. Dist. LEXIS 64987, 2015 WL 2383358, at *5

   (D.N.J. May 18, 2015), aff’d, 639 F. App.’x 880 (3d Cir. 2016) (“[t]he number of exclusions and

   objections are thus exceptionally small in relation to the size of the potential and confirmed class.

   Such a discrepancy weighs in favor of approval of the settlement.”); Wal-Mart Stores, Inc. v. Visa

   U.S.A., Inc., 396 F.3d 96, 119 (2d Cir. 2005) (“The favorable reaction of the overwhelming

   majority of class members to the settlement is perhaps the most significant factor in

   our...inquiry.”).

           Finally, Girsh factors 8 and 9 evaluate the reasonableness of the Settlement in light of a

   potential best possible recovery and in light of all the attendant risks of litigation. Plaintiffs and

   their counsel believe that the recovery here is not merely adequate but that it is a truly excellent

   result. Lesser Decl. ¶ 9. Not only does Class Counsel understand that the $19,613,900 is the

   second largest wage and hour settlement in this Court, after the Staples settlement cited

   immediately below, but the gross recovery is $12,003 per Collective and Settlement Class

   Member. Id. 11


   11
     Although every case is different, in the undersigned counsel’s last three settlements in this
   Circuit of retail chain store mid-manager misclassification claims, the gross recoveries were,
   respectively, $9,038 per person (Fischer v. Kmart Corp., No. 13-cv-4116 (D.N.J.) (final approval
   granted Nov. 2, 2016)), $11,838 (McKee v. PetSmart, Inc., 1:12-cv-01117-SLR-SRF (D. Del.)
   (final approval granted July 27, 2015)), and $2,001 per person (Hegab v. Family Dollar Stores,
   Inc., No. 11-cv-1206-CCC-JAD (final approval granted March 9, 2015)). Id. In this Court’s
   largest FLSA/state law collective/class settlement (same counsel as this case), the Stillman v.
   Staples case, also a retail chain store misclassification case, the average gross recovery was $5,952
   (Case No. 2:08-cv-5746 (KSH)(PS), MDL 2025 (final approval granted November 4, 2011) ($42
   million class and collective action settlement); cf. also, e.g., Nash v. CVS Caremark Corp., 1:09-


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           Further, this result is also excellent in light of the range of damages that could be obtained.

   Inasmuch as the law in this Circuit remains unclear as to how damages are calculated in

   misclassification cases – are they determined at a “half time” damage rate, as has been accepted

   by all the federal Courts of Appeals that have addressed the issue (as have courts within this

   Circuit, including this Court in its most recent decision on point), 12 are they determined at a

   “regular” rate analysis which provides for half time up to expected hours to be worked and then

   time and a half beyond that, as was utilized by Judge Schwartz in the Stillman v. Staples, Inc. case,

   supra, or, are they determined at a full-time and a half rate, as would be a theoretical best claim

   that is rarely, if ever, utilized by Courts. At either a half-time rate or at a “regular” rate analysis

   (the most likely to be used approaches), for the mediation, Class Counsel determined that the

   maximum recovery for the case would have been $11.9 million (assuming that Plaintiffs prevailed

   on the arbitration issue that existed as to the Settlement Class Members, or else it would have

   been just $6.9 million). At a full time and a half approach, which was unlikely (but possible), the

   damages would have been $67 million (assuming that Plaintiffs prevailed on the arbitration issue,

   or else it would have been $23 million). Lesser Prelim. Decl. ¶¶ 9, 13. Thus, even assuming

   Plaintiffs prevailed on the arbitration issue, a $19.6 million recovery against a range from a likely

   $11.9 million to a possible, but unlikely, $23 or $67 million, is most certainly a fair and

   reasonable result, particularly given the risks presented by the case, at trial, post-trial and the time


   cv-00079 (D.R.I.) (final approval order dated Apr. 9, 2012) (also retail chain store
   misclassification case; where average gross class member amount $1,760, court termed the result
   “magnificent.”). Id. The excellent $12,003 average gross recovery number here is undoubtedly a
   fair, reasonable, and adequate result. Id.
   12
     See Desmond v. PNGI Charles Town Gaming, L.L.C., 630 F.3d 351 (4th Cir. 2011 (applying
   half-time rate); Urnikis-Negro v. Am. Family Prosperity Servs., 616 F.3d 665 (7th Cir. 2010)
   (same); Clements v. Serco, Inc., 530 F.3d 1224 (10th Cir. 2008) (same); Valerio v. Putnam
   Assocs., Inc., 173 F.3d 35 (1st Cir. 1999) (same); see also DePalma v. The Scotts Company LLC,
   No. 13-7740 (KM) (JAD), 2019 U.S. Dist. LEXIS 97036 (D.N.J. June 10, 2019) (same).


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   attendant upon getting any result. See also Craig, 2013 WL 84928, at *9 (method of damage

   calculations was crucial unresolved issue that weighed in favor of wage an hour misclassification

   class settlement approval); McCoy v. Health Net, Inc., 569 F. Supp. 2d 448, 462 (D.N.J. 2008)

   (that parties “insisted on vastly different methodologies for determining damages” favored

   settlement).

          Accordingly, all of the Girsch factors are met with this Settlement.

                  3.      The Prudential Factors Are Met.

          The “Prudential” factors are also met by this Settlement. Specifically, they are:

          [(1) T]he maturity of the underlying substantive issues...the development of scientific
          knowledge, the extent of discovery on the merits, and other factors that bear on the ability
          to assess the probable outcome of a trial on the merits of liability and individual damages;
          (2) the existence and probable outcome of claims by other classes and subclasses; (3) the
          comparison between the results achieved by the settlement for individual class or subclass
          members and the results achieved-- or likely to be achieved--for other claimants; (4)
          whether class or subclass members are accorded the right to opt out of the settlement; (5)
          whether any provisions for attorneys' fees are reasonable; and (6) whether the procedure
          for processing individual claims under the settlement is fair and reasonable.

   In re Prudential Ins. Co. Am Sales Practice Litig. Agent Actions, 148 F.3d at 323.

          As already shown, “the ability of the parties to evaluate each other’s liability position and

   the likelihood of success” has been shown. Somogyi, 2020 U.S. Dist. LEXIS 194035 at *23

   (summarizing first factor in approving settlement). There are no other known classes or

   subclasses likely to have presented any different, much less materially different claim. The

   comparison with other cases has also been addressed. All class members were accorded the right

   to opt-out of the Settlement (although none did). Attorneys’ fees are discussed at pages 21-27,

   below. And finally, the procedure for processing claims is most certainly fair and reasonable since

   this is not even a claims-made settlement, but rather a direct pay settlement.




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           C.      The Settlement of the Collective Claims Should Be Approved

           Court approval of the settlement of the Goodman Collective’s FLSA claims is necessary to

   effectuate a valid and enforceable release of their FLSA claims. McGee v. Ann's Choice, Inc.,

   2014 U.S. Dist. LEXIS 75840, *4-5 (E.D. Pa. June 4, 2014) (citing Lynn's Food Stores, Inc. v.

   United States, 679 F.2d 1350, 1353 (11th Cir. 1982)). Where, as here, the litigation arises from a

   private enforcement action under the FLSA’s Section 216(b), the standard for ultimate approval is

   straightforward: a court must determine that the settlement is a “fair and reasonable resolution of

   a bona fide dispute over FLSA provisions” and if a settlement reflects “a reasonable compromise”

   the court may approve the settlement “in order to promote the policy of encouraging settlement

   of litigation.” Lynn's Food Stores, Inc. v. United States., 679 F.2d 1350, 1352-54 (11th Cir. 1982)

   (citing Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697 (1945)).

           While the Third Circuit has not addressed the review standards for collective action

   settlements, see Brown v. TrueBlue, Inc., No. 1:10-cv-00514, 2013 U.S. Dist. LEXIS 137349, *4

   (M.D. Pa. Sept. 24, 2014), it is generally believed either that FLSA settlement approval standards

   are less rigorous than Rule 23(e)’s, 13 or, in this Circuit, are often viewed through the lens of the

   Rule 23 Girsh factors, see, e.g., Creed v. Benco Dental Supply Co., 3:12-CV-01571, 2013 U.S.

   Dist. LEXIS 132911, *5-6 (M.D. Pa. Sept. 17, 2013). Irrespective, since as already discussed, the

   Girsh factors are met in this case, the Settlement as to the Collective is therefore fair and

   reasonable, just as it is for the similarly situated Settlement Class Members.


   13
     See, e.g., Thompson v. Costco Wholesale Corp., No. 14-CV-2778-CAB-WVG, 2017 U.S. Dist.
   LEXIS 24964, 2017 WL 697895, at *6 (S.D. Cal. Feb. 22, 2017) (“[A] Court has a considerably
   less stringent obligation to ensure fairness of the settlement in a FLSA collective action than a Rule
   23 action because parties who do not opt in are not bound by the settlement.”); Romero v. La
   Revise Assocs., LLC, 58 F. Supp. 3d 411, 421 (S.D.N.Y. 2014) ( “Evaluation of an FLSA
   settlement is less rigorous than the court’s evaluation of a class action settlement because, under
   the FLSA, parties may elect to opt in but a failure to do so does not prevent them from bringing
   their own suits at a later date.”).


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           D.      The Court Should Award the Requested Attorneys’ Fees of One-Third of the
                   Settlement Amount

           Pursuant to Rules 23(h) and 54(d)(2), Class Counsel seeks an award of attorneys’ fees in the

   amount of $6,537,966.67, which is one-third of the Maximum Settlement Amount.

           This Court uses the “percentage-of-recovery” method in determining attorneys’ fee awards

   in common fund cases, subject to a “lodestar/multiplier” cross-check. See, e.g., In re Rite Aid Corp.

   Sec. Litig., 396 F.3d 294, 300 (3d Cir. 2005); In re Cendant Corp. Litig., 264 F.3d 201, 256 (3d Cir.

   2001); In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 821 (3d Cir. 1995).

   The percentage-of-recovery method’s recognized advantage is that it “directly aligns the interests of

   the class and its counsel” because it incentivizes attorneys to create the largest common fund out of

   which payments to the class can be made. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d

   96, 122 (2d Cir. 2005) (internal citations omitted). 14

           In evaluating a fee request, the Third Circuit has identified several factors that a district court

   should consider in determining an award of attorneys’ fees. These factors include:



   14
     Indeed, in what is perhaps the most serious consideration of current fee jurisprudence in recent
   years – the American Law Institute’s Principles of Aggregate Litigation – the percentage-of-the fund
   was recognized as the proper measure:

                    (b) Subject to subsection (c), a percentage-of-the-fund approach should be the
           method utilized in most common-fund cases, with the percentage being based on both the
           monetary and nonmonetary value of the judgment or settlement. The court can consider
           using the "lodestar" approach as a cross-check, particularly when the value of the judgment
           or settlement is uncertain.
                    (c) Other than its use as a cross-check, or its use in cases seeking solely injunctive or
           declaratory relief, the lodestar method should be limited to:
                     (1) situations in which the fees will be awarded under a fee-shifting statute that
                    requires the lodestar method, or
                     (2) cases in which the court makes a specific finding that the percentage method
                    would be unfair or inapplicable based on the specific facts of the case.

   American Law Institute, Principles of the Law of Aggregate Litigation § 3.13(b)-(c) at 248-49
   (2010).


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           (1) the size of the fund created and the number of persons benefitted; (2) the
           presence or absence of substantial objections by members of the class to the
           settlement terms and/or fees requested by counsel; (3) the skill and efficiency of the
           attorneys involved; (4) the complexity and duration of the litigation; (5) the risk of
           nonpayment; (6) the amount of time devoted to the case by plaintiff’s counsel; and
           (7) the awards in similar cases.

   Rite Aid, 396 F.3d at 301 (citing Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 n. 1 (3d

   Cir. 2000)). Each of these factors here favors the requested award of attorneys’ fees.

           First, the fund created by the Settlement is $19,613,000. As previously noted, the average

   gross award made available to the Collective and Settlement Class Members is $12,003. This is at

   the high end of the range of FLSA/state law retail chain misclassification settlements, which, as

   discussed above at page 18 fn.11, have, within this Circuit otherwise included gross average

   amounts of $9,038 per person (Fischer v. Kmart Corp.), $11,838 per person (McKee v.

   PetSmart), $2,001 per person (Hegab v. Family Dollar Stores, Inc.), $5,952 per person (Stillman

   v. Staples). It is fair to say that this factor is satisfied.

           Second, the Collective and Settlement Class members received notice of the Settlement

   terms, including the amount of attorneys’ fees that Class Counsel are requesting. Not a single

   objection was received and no one opted out of the Settlement. This heavily favors approving the

   requested attorneys’ fee award. See, e.g., In re AT&T Corp. Sec. Litig., 455 F.3d 160, 170 (3d

   Cir. 2006) (no abuse of discretion where district court approved settlement given eight objections

   from one million potential class members); Rite Aid, 396 F.3d at 305 (“The District Court did not

   abuse its discretion in finding the absence of substantial objections by class members to be the fee

   requests weighed in favor of approving the fee request.”); Careccio v. BMW of N. Am. LLC, No.

   08-2619, 2010 U.S. Dist. LEXIS 42063, at *22 (D.N.J. Apr. 29, 2010) (recognizing that one of the

   “strong indicators” a fee request was fair and reasonable was that “[n]one of the objector letters

   mentioned the fee award”); accord In re Schering-Plough Corp. Sec. Litig., No. 01-CV-0829

   (KSH/MF), 2009 U.S. Dist. LEXIS 121173, at *14-15 (D.N.J. Dec. 31, 2009) (finding that two


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   objections out of 320,000 potential class members provided “strong evidence in favor of the

   reasonableness of the fee award”). Accordingly, the second factor favors the requested award.

           Third, the Collective and Settlement Classes were represented by experienced counsel who

   invested significant time and resources into the prosecution of this litigation. See Lesser Prelim.

   Decl. ¶ 19; Lesser Decl. ¶¶ 11-13. Class Counsel have served as class counsel in numerous other

   class and collective actions and have a nationwide reputation for prosecuting wage and hour

   misclassification lawsuits, including, as discussed, even trying this Court’s and the Third Circuit’s

   leading trial, Stillman v. Staples. Accordingly, without belaboring Class Counsel’s qualifications and

   experience at length, the third factor favors the requested award.

           Fourth, the duration of this litigation certainly weighs in favor of the award of attorneys’

   fees. Class Counsel litigated this case for more than nine years, a process that, if nothing else,

   certainly required patience (and perhaps some fortitude). As discussed, the case was extensively

   litigated in all respects and, to all intents and purposes, was being prepared for trial. Absent

   settlement, as the course of the case made clear, more time would have been expended and there

   could have been, as discussed above, numerous appeals. “The Settlement saves the parties

   substantial time and money.” In re Datatec Sys. Sec. Litig., No. 04-CV-525 (GEB), 2007 U.S.

   Dist. LEXIS 87428, at *20 (D.N.J. Nov. 28, 2007). Accordingly, the fourth factor favors the

   requested award.

           Fifth, the risk of nonpayment was significant. Class Counsel undertook this action entirely

   on a contingent fee basis, assuming a substantial risk that they might not be compensated at all for

   their efforts. Lesser Decl. ¶ 16. “Courts recognize the risk of non-payment as a factor in

   considering an award of attorneys’ fees.” Datatec, 2007 U.S. Dist. LEXIS 87428, at *20.

   Accordingly, the fifth factor favors the requested award.




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           Sixth, Class Counsel committed substantial time and resources into this fee case. The

   undersigned’s firm alone devoted over 4,000 hours, and co-counsel spent another 2,700 hours.

   See Lesser Decl. ¶ 16. As noted, all of that time was devoted to this case on a contingency basis

   with no guarantee of payment. Id. The hours reported are reasonable for a case of this

   complexity, magnitude and length and were compiled from contemporaneous time records

   maintained by each attorney, paralegal, and support staff participating in the case. See Lesser

   Decl. Exs. A- E. Class Counsel communicated amongst each other regularly to ensure that there

   was no unnecessary time incurred, nor duplication of effort. Lesser Decl. ¶ 16. In addition, there is

   still work to be done that will be necessary to effectuate the administration of the Settlement which is

   recognized as necessary and compensable.15 This Court also has first-hand knowledge of the

   nature, scope, and depth of what this litigation has entailed. Accordingly, the sixth factor favors the

   requested award.

           Seventh, the requested percentage of the Settlement Fund—33 1/3%—is reasonable and in

   line with multiple other settlements. While there is no benchmark for attorneys’ fee awards, “[t]he

   Third Circuit has noted that fee awards generally range from 19% to 45% of the settlement fund

   when the percentage-of-recovery method is utilized to assess the reasonableness of requested



   15
     The additional time that will be required to administer the Settlement in the future can be
   reasonably estimated to be at least another 150 hours. Lesser Decl. ¶ 18. Collective and
   Settlement Class Members have already had questions regarding the Settlement, and such
   inquiries will continue through and beyond final approval as Class Members report lost checks
   and request new ones, raise questions about tax consequences, and generally call for advice. Id.
   There will also be time spent overseeing the claims finalization process. Id. This all is reasonably
   considered in addressing the fee application. See Beckman v. KeyBank, N.A., 293 F.R.D. 467 at
   482 (S.D.N.Y. 2013) (“Class Counsel is often called upon to perform work after the final approval
   hearing, including answering class member questions, answering questions from the claims
   administrator, and negotiating and sometimes litigating disagreements with defendants about
   administering the settlement and distributing the fund.”); accord Parker v. Jekyll & Hydye Entm’t
   Holdings., L.L.C., 08 Civ. 7670 (BSJ) (JCF), 2010 U.S. Dist. LEXIS 12762, at *7-8 (S.D.N.Y. Feb
   9, 2009).


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   attorneys' fees.” Brumley v. Camin Cargo Control, Inc., 2012 U.S. Dist. LEXIS 40599, *36-37

   (D.N.J. March 26, 2012) (FLSA wage and hour case); see also Lincoln Adventures LLC v. Those

   Certain Underwriters at Lloyd’s, London Members, No. 08-CV-235 (CCC), 2019 U.S. Dist.

   LEXIS 171917, *18 (D.N.J. Oct. 3, 2019) ("Courts in the Third Circuit, including this one, have

   viewed fee percentages of 33% as reasonable."); In re Ins. Brokerage Antitrust Litig., 297 F.R.D.

   136, 155 (D.N.J. 2013) (approving 33% fee award in MDL 1663); accord In re Ikon Office

   Solutions v. Stuart, 194 F.R.D. 166, 194 (E.D. Pa. 2000); In re Computron Software, Inc., 6 F.

   Supp. 2d 313, 322-23 (D.N.J. 1998). This is particularly true in wage and hour cases, like this

   one. 16 Accordingly, the seventh factor favors the requested award.

          And because all of the relevant factors favor the requested attorneys’ fees award, the award

   should be approved.

          Besides from evaluating the seven factors just addressed, courts in the Third Circuit also

   confirm the reasonableness of a fee award by cross-checking it with Class Counsel’s lodestar. Rite

   Aid, 396 F.3d at 305-06. The lodestar analysis is performed by “multiplying the number of hours

   reasonably worked on a client’s case by a reasonable hourly billing rate for such services based on

   the given geographical area, the nature of the services provided, and the experience of the

   attorneys.” Id. at 305. If the lodestar multiplier, which is equal to the proposed fee award divided

   by the produce of the total hours and the billing rate, is large, the award calculated under the

   percentage-of-recovery method may be deemed unreasonable, and the Court may consider



   16
     Numerous courts within the Third Circuit and this District have awarded fees equal to or exceeding
   33 1/3% in wage and hour class and collective actions. See, e.g., Lucia v. McClain & Co., Civil Action
   No. 11-cv-930 (CCC-MF), 2015 U.S. Dist. LEXIS 164584 (D.N.J. Dec. 8, 2015) (42%); Lovett v.
   Connect Am..com, No. 14-2596, 2015 U.S. Dist. LEXIS 121838, at *14-15 (E.D. Pa. Sep. 11, 2015)
   (38.26%); Rouse v. Comcast Corp., No. 14-1115, 2015 U.S. Dist. LEXIS 49347, at *29 (E.D. Pa.
   Apr. 14, 2015) (35%); Creed v. Benco Dental Supply Co., No. 3:12-CV-01571, 2013 U.S. Dist.
   LEXIS 132911, at *17 (M.D. Pa. Sep. 17, 2013) (33 1/3%).


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   reducing the award. Id. The lodestar multiplier, however, “need not fall within any pre-defined

   range, provided that the [d]istrict [c]ourt’s analysis justifies the award.” Id. at 307. The court is not

   required to scrutinize every billing record but may, instead, rely on summaries submitted by the

   attorneys. Id. at 306-07.

           “Multiples ranging from one to four are frequently awarded in common fund cases when

   the lodestar method is applied.” In re Prudential Ins. Co. of Am. Sales Practices Litig., 148 F.3d

   283, 341 (3d Cir. 1998) (quoting 3 Herbert Newberg & Alba Conte, Newberg on Class Actions,

   §14.03 at 14-5 (3d ed. 1992)); In re Vicuron Pharmaceuticals, Inc. Sec. Litig., 512 F. Supp. 2d 279,

   287 (E.D. Pa 2007). The request here falls well below the middle of the 1x to 4x range. Indeed, it

   is just 1.55, a most modest positive multiplier. Lesser Decl. ¶ 20. Moreover, in all likelihood,

   there will be additional time expended in order to oversee the distribution of the settlement

   proceeds to the Collective and Settlement Class members and to answer their questions which will

   drive the multiplier down lower. Id. at ¶¶ 3, 17. In sum, Class Counsel’s fee award is well within

   the range of reasonableness.

           It accordingly follows that under the percentage of recovery method and under the lodestar

   cross-check, the request for attorneys’ fees is reasonable and should be approved.

           E.      The Court Should Award Class Counsel’s Reasonable Expenses

           “Counsel for a class action is entitled to reimbursement of expenses that were adequately

   documented and reasonably and appropriately incurred in the prosecution of the class action.”

   Datatec, 2007 U.S. Dist. LEXIS 87428, at *27 (quotation omitted); In re Rent-Way Sec. Litig.,

   305 F. Supp. 2d 491, 519 (W.D. Pa. 2003) (“There is no doubt that an attorney who has created a

   common fund for the benefit of the class is entitled to reimbursement of . . . reasonable litigation

   expenses from that fund.”).




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           Here, Class Counsel requests reimbursement of expenses in the amount of $348,000 to

   cover the costs incurred by virtue of the full scope of this litigation – including the costs incurred

   for such things as filing fees, deposition costs, the opt-in notice process, ESI hosting and

   production, legal research, travel, Plaintiffs’ expert, mediation, meals, transportation, court fees,

   mailing, postage, and telephone. See Lesser Decl. ¶ 21. In actuality, the incurred expenses totaled

   $347,908.17 (Lesser Prelim. Decl. ¶ 23) but the actual expenses, by the time administration is

   completed will add additional expenses beyond another $92 and will therefore exceed $348,000.

   Id. The expenses are reasonable given the full scope of this litigation to date, are documented on

   the books of Class Counsel, and are reasonable in relation to the $19 million settlement achieved

   and should be awarded. Id. ¶ 25. The amount was set forth in the Notice and not one person has

   objected to this request for expenses. Donaldson Decl. ¶ 10; see Donaldson Decl. Ex. A.

           The efforts of the settlement administrator, JND, are documented in the Keogh

   Declaration as well. JND’s cost for settlement administration is expected to be $35,000.

   Donaldson Decl. ¶ 13. This includes the administration of the Settlement and mailing of

   Settlement checks, addressing any deficiencies, handling tax withholding matters and responding to

   inquiries from Collective and Settlement Class members. This amount is, in the undersigned’s

   experience, exceedingly reasonable and less than typical notice and administration costs for

   handling a settlement of this size. Lesser Decl. ¶ 8.

           F.      The Court Should Award the Requested Incentive Payments to the Named
                   Plaintiffs

           The Settlement Agreement provides that the Plaintiffs will seek, and Defendants will not

   oppose, Incentive Payments for the four Named Plaintiffs in the amount of $10,000.00 each. This

   amount was specifically reflected in the Notice and no objections to their issuance have been

   received. See Donaldson Decl. ¶ 10 & Ex. A. The Named Plaintiffs provided valuable



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   information about their experiences working for Burlington, and made themselves available

   throughout the litigation as needed. See Lesser Decl. ¶¶ 26-27. As a result of the Named

   Plaintiffs’ willingness to bring these actions, 1,634 ASMs stand to recover their losses. Incentive

   payments are particularly appropriate in wage and hour cases. Each Named Plaintiff here faced

   the risk of retaliation from within the retail industry—or at least the fear of such risk—by putting

   their name out there as Named Plaintiffs. As the Second Circuit explained in Shahriar v. Smith &

   Wollensky Rest. Grp., Inc., 659 F.3d 234, 244 (2d Cir. 2011), “an employee fearful of retaliation

   or of being ‘blackballed’ in his or her industry may choose not to assert his or her FLSA rights.” 17

   This Court has just recently reaffirmed the propriety of incentive/service awards in class actions,

   including rejecting an out-of-circuit authority suggesting otherwise. Somogyi, 2020 U.S. Dist.

   LEXIS 194035 at *26-27 (citing cases).

           The amount of the Incentive Payments being sought is reasonable inasmuch as the law

   recognizes that it is appropriate to make modest awards in the range of $10,000 to $20,000 in

   recognition of the services that named plaintiffs perform in a successful class action. See, e.g.,

   Rivet v. Office Depot, Inc., No. 12-cv-2992, Final Order & Judgment (D.N.J. Dec. 21, 2017)

   (FLSA case: $10,000 to each of five named plaintiffs); In re Ins. Brokerage Antitrust Litig., Nos.

   04-5184 (GEB), 05-1079 (GEB), 2007 U.S. Dist. LEXIS 74711, at *60-61 (D.N.J. Oct. 5, 2007)

   ($10,000 incentive award to each plaintiff, resulting in total payment of $250,000); Lazy Oil Co. v.

   Witco Corp., 95 F. Supp. 2d 290, 347 (W.D. Pa. 1997), aff’d, 166 F.3d 581, 588 (3d Cir. 1999)

   ($5,000 to $20,000 and enhancement awards); Godshall v. Franklin Mint Co., No. 01-CV-6539,



   17
     So that it is clear, Class Counsel do not intend to suggest—in any way—that Defendants here
   would engage in any retaliation. There has been no indication that it has retaliated or will retaliate
   because of this case. The point is that it is the fear of such retaliation that can cause employees to
   be unwilling and wary of suing the past or present employer by stepping forward as a named
   plaintiff in a class or collective action.


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   2004 U.S. Dist. LEXIS 23976, at *19-20 (E.D. Pa. Dec. 1, 2004) ($20,000 enhancement award to

   each named plaintiff).

           The amounts requested here are reasonable and are not out of proportion to the overall

   Settlement or the average gross payout per Class member. The payments are therefore

   appropriate service awards. See Cook v. Niedert, 148 F.3d 1004, 1015 (7th Cir. 1998). Class

   Counsel respectfully requests that the Incentive Payments be approved.

           G.      The Claims Administrator’s Costs Should Be Approved.

           Finally, the Court should also approve the payment of up to $35,000 to JND for the costs

   of handling the Settlement notice and administration. See Donaldson Decl. ¶ 13. In the

   experience and opinion of Class Counsel, this amount is reasonable and typical of the costs for

   handling a settlement of this size and JND is a premium and effective claims administrator. Lesser

   Decl. ¶ 8.

                                               CONCLUSION

           For all the foregoing reasons, Plaintiffs respectfully request that this Court grant, in its

   entirety, Plaintiffs’ Unopposed Motion for Final Approval of Class And Collective Action

   Settlement And in Support of Award of Attorneys’ Fees And Costs, Incentive Payments to Named

   Plaintiffs, And Payment of The Settlement Administrator and enter the accompanying proposed

   Order on Final Approval of Class and Collective Action Settlement and Judgment and the relief

   set forth therein.



   Dated: November 20, 2020                Respectfully submitted,
   Rye Brook, New York
                                           By: /s/ Seth R. Lesser
                                           Seth R. Lesser
                                           Jeffrey A. Klafter
                                           Christopher Timmel
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